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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

TODD CHRISLEY,                           )
                                         )
      Plaintiff,                         )   CIVIL ACTION FILE
                                         )
v.                                       )   NO.
                                         )
HOMEBANC MORTGAGE                        )
CORPORATION, as last transferred         )
to U.S. Bank National Association, as    )
Indentured Trustee for HomeBanc          )
Mortgage Loan Trust 2005-1,              )
                                         )
             Defendant.                  )

                                 COMPLAINT

                                        1.

      This is an action for damages and injunctive relief brought pursuant to the

Federal Fair Credit Reporting Act, 15 U.S.C. §§ 1681 et seq. (FCRA), for

noncompliance by Defendant with the provisions of the FCRA.

                                        2.

      The jurisdiction of this court is conferred by 15 U.S.C. § 1681(p). Venue is

proper before this court pursuant to 28 U.S.C. § 1391(c).



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                                           3.

      Plaintiff is an individual and a resident of Los Angeles County, California.

                                           4.

      HomeBanc Mortgage Corporation (“HomeBanc”) was the original lender in the

financing transaction at issue in this action.

                                           5.

      Defendant U.S. Bank National Association (“U.S. Bank”), as Indentured

Trustee for Homebanc Mortgage Trust 2005-1, is a corporation not registered to

conduct business in the state of Georgia; however, the acts occurred within the State

of Georgia, and Fulton County, specifically, and thus jurisdiction and venue are

proper. Defendant must be served by process through the Secretary of State of

Georgia.

                                           6.

      Defendant U.S. Bank, as defined herein, is subject to the jurisdiction of this

Court pursuant to 15 U.S.C. §§ 1681 et seq. (FCRA) and 15 U.S.C. §§ 1692-1692p,

the Fair Debt Collection Practices Act (FDCPA).




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                                      FACTS

                                         7.

      Plaintiff was the owner of certain real property located at 4015 Anson Avenue,

Alpharetta, Fulton County, Georgia 30022 (the “Property”).

                                         8.

      A Security Instrument dated October 29, 2004, in favor of HomeBanc

Mortgage Corporation, recorded in Deed Book 38840, Page 558, Fulton County,

Georgia Records, as last transferred to U.S. Bank National Association, as Indentured

Trustee for HomeBanc Mortgage Loan Trust 2005-1 by assignment recorded in Deed

Book 53415, Page 597, Fulton County, Georgia Records, purports to attach as

security to the Property (the “Mortgage”). HomeBanc Mortgage Corporation, its

successors, assigns are hereby referred to as the “Lender”.

                                         9.

      The signature which is affixed on the various lines of the Mortgage, and its

accompanying documents, which says “Borrower” is not the signature of the Plaintiff.

                                        10.

      Plaintiff did not sign the Mortgage or the accompanying documents and the

same contains a forgery of Plaintiff’s name.

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                                              11.

        Plaintiff believes that a former business partner signed his name on the

Mortgage and made various payments on the Mortgage on his behalf.

                                              12.

        Plaintiff did not discover the Mortgage until years after the Mortgage was

made.

                                              13.

        Due to Plaintiff’s dealings with this business partner, Plaintiff was forced to file

bankruptcy on behalf of himself and his business.

                                              14.

        The Mortgage was not a proper security instrument as it was forged. However,

Lender has declared the Mortgage in default on numerous occasions, has reported

negatively against Plaintiff’s credit rating, and has demanded payoff sums from

Plaintiff.

                                              15.

        Over the last three years, Plaintiff has informed the Lender of the inaccuracy

and illegitimacy of the Mortgage, that the loan documents were not signed by him and

are, in fact, a forgery.

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                                          16.

      Evidence of the forgery in the forms of testimony under of oath by the forger

of the Loan, and the witness to the forgery, was presented to the Lender and its

attorneys on multiple occasions.

                                          17.

      Multiple requests to void the Mortgage were made by Plaintiff to the Lender.

                                          18.

      Over a year ago, the Lender agreed that it would accept the sum of $370,000

to fully satisfy the loan and not foreclosure on the Property.

                                          19.

      Plaintiff agreed to pay the sum of $370,000.00 only if the Lender agreed to

keep any foreclosure actions in forbearance, and so as long as the continued FCRA

violations be corrected and the Mortgage stopped being reported as being deficient.

                                          20.

      Instead of resolution, the Lender commenced foreclosure activity, which

necessitated the filing of a lawsuit by Plaintiff to stop the same.




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                                         21.

      An affidavit of forgery was filed in the Real Property Records and a lawsuit

was filed in the Superior Court of Fulton County to address the forgery.

                                         22.

      Plaintiff in an attempt to mitigate his damages was able to obtain a contract for

sale of the Property.

                                         23.

      In June 2017, in an effort to mitigate his damages, Plaintiff sold the property

and provided a payoff to the Lender in the amount of $402, 000, under written

protest. Plaintiff informed the Lender in his protest letter that the quoted payoff

amount is inaccurate and should have been $370,000.

                                         24.

      The Mortgage needs to be removed from the monthly credit reporting tape such

that no further reporting of the Mortgage as to Plaintiff is effectuated.

                                     COUNT I

                  FAIR CREDIT/FAIR DEBT VIOLATIONS

                                         25.

      Plaintiff incorporates by reference all prior allegations as if set forth herein.

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                                          26.

      Plaintiff is a “consumer” as this term is defined by 15 U.S.C. § 1681a(c) of the

Fair Credit Reporting Act.

                                          27.

      Defendant is a “person” as defined by 15 U.S.C.A. § 1681a(b) of the Fair

Credit Reporting Act.

                                          28.

      Defendant is reporting derogatory information about Plaintiff to one or more

consumer reporting agencies as defined by 15 U.S.C. § 1681a.

                                          29.

      Plaintiff has disputed the accuracy of the derogatory information reported by

the Defendant to the Consumer Reporting Agencies.

                                          30.

      Defendant has not provided notice of this disputed matter to the credit bureaus

and is therefore in violation of 15 U.S.C. § 1681s-2 which requires this notice.

                                          31.

      Defendant has failed to comply with 15 U.S.C. § 1692g in that it has not within

five (5) days of Plaintiff’s initial communication (nor at any other time) sent Plaintiff

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written documentation of the amount of the debt, the name of the original creditor,

nor other information required by the Fair Credit Reporting Act.

                                            32.

        Defendant has failed to complete an investigation of Plaintiff’s written dispute

and provide the results of an investigation to Plaintiff within the 30-day period as

required by 15 U.S.C. § 1891s-2.

                                            33.

        Defendant has not notified Plaintiff of any determination that Plaintiff’s dispute

is frivolous within the five (5) days required by 15 U.S.C. § 1681s-2 nor at any other

time.

                                            34.

        To the date of filing this Complaint, Defendant has refused and/or neglected

to remove the false and derogatory entries on Plaintiff’s credit report.

                                            35.

        Despite the insistence of the Plaintiff, Defendant failed to correct the errors and

failed to undertake sufficient investigations on being notified of the errors.




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                                         36.

      In the entire course of its actions, Defendant willfully violated the provisions

of the Fair Credit Reporting Act in at least the following respects:

      (a)    By willfully and/or negligently failing, in the preparation of the

consumer report concerning the Plaintiff, to follow reasonable procedures to assure

maximum possible accuracy of the information in the report;

      (b)    By willfully and/or negligently furnishing to Plaintiff’s potential

creditors information about the Plaintiff that Defendant knew, or should have known,

was incomplete and/or inaccurate;

      (c)    By willfully and/or negligently failing to correct and/or delete the

incomplete and inaccurate information in Plaintiff’s file after conducting an

investigation or reinvestigation;

      (d)    By willfully and/or negligently failing to conduct an adequate

investigation or reinvestigation of Plaintiff’s complaints, and by willfully and

negligently failing to implement corrective actions once the outcome of the

investigations were known, or should have been known, to the Defendant;




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      (e)    By willfully and/or negligently failing to provide subsequent users of the

report with the Plaintiff’s statement of dispute or a summary of the Plaintiff’s

statement of dispute; and

      (f)    By willfully and/or negligently failing to have proper procedures and

apparatus in place that would promptly and accurately delete or correct any incorrect,

incomplete, or inaccurate credit reporting.

                                          37.

      Defendant has an obligation under 15 U.S.C. § 1681i to promptly reinvestigate

disputed negative credit information and to promptly delete such information when

the reinvestigation establishes that is should be removed. Defendant has willfully

and/or negligently continued to report the derogatory information and has continued

to publish such information to persons who have requested Plaintiff’s credit reports.

                                          38.

      As a direct and proximate result of the actions of the Defendant, Plaintiff has

been damaged in an amount which will be proved at time of trial. As provided under

the Fair Credit Reporting Act, Plaintiff is entitled to actual damages, damage to credit

reputation and creditworthiness, statutory penalties, punitive damages, costs, and

attorney’s fees.

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                                     COUNT II

             UNJUST ENRICHMENT/BREACH OF CONTRACT

                                         39.

      Plaintiff incorporates by reference all prior allegations as if set forth herein.

                                         40.

      By retaining the extra $32,000 paid towards the payoff, in violation of the

agreement between Plaintiff and Defendant, the Defendant has been unjustly enriched

at the expense of the Plaintiff.

                                         41.

      The payoff is inaccurate as it is $32,000 in excess. Plaintiff demands the

immediate return of $32,000 from the Lender as well as the correction of his credit

by Lender to reverse all derogatory reporting on his credit history on the Mortgage.

      WHEREFORE, Plaintiff requests judgment Defendant for:

      (a)    Actual, general, and special damages according to proof at trial;

      (b)    Punitive damages against Defendant;

      (c)    Plaintiff seeks a reasonable and fair judgment against Defendant for its

willful noncompliance of the Fair Credit Reporting Act and further seeks his statutory

remedies as defined by 15 U.S.C. § 1681n and demands;

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      (d)   Payment by Defendant of the sum of $32,000 to Plaintiff to account for

the unjust enrichment of Defendant;

      (e)   Attorney’s fees;

      (f)   Costs of suit; and

      (g)   Such other and further relief as the Court deems just and proper.


      Respectfully submitted this 5th day of January, 2018.

                                      THE GILROY FIRM


                                      /s/ Monica K. Gilroy
                                      MONICA K. GILROY
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                                      KELSEA L. S. LAUN
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                   CERTIFICATION OF COMPLIANCE

     The undersigned counsel for Plaintiff Todd Chrisley certifies that the within

and foregoing Complaint was prepared using Times New Roman 14-point font in

accordance with LR 5.1C (N.D. Ga.).

     This 5th day of January, 2018.


                                      /s/ Monica K. Gilroy
                                      MONICA K. GILROY
                                      Georgia Bar No. 427520
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